                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-695

                                        No. COA 20-268

                                    Filed 21 December 2021

     Wake County, No. 17CRS209941

     STATE OF NORTH CAROLINA

                   v.

     WILLIAM JOSEPH BARBER, Defendant.


             Appeal by Defendant from judgment entered 6 June 2019 by Judge Stephan R.

     Futrell in Wake County Superior Court. Heard in the Court of Appeals 11 August

     2021.


             Attorney General Joshua H. Stein, by Special Deputy Attorney General
             Matthew Tulchin, for the State.

             C. Scott Holmes, Irving Joyner, and Malcolm Ray. Hunter, Jr., for the
             Defendant.


             DILLON, Judge.


¶1           Defendant was convicted in superior court of second-degree trespass by a jury

     for refusing to leave the office area of the North Carolina General Assembly when

     told by security personnel to do so.     We conclude that the superior court had

     jurisdiction over the matter and that Defendant received a fair trial, free from

     reversible error.

                                         I. Background
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¶2         Defendant was charged with second-degree trespass, a misdemeanor, for

     refusing to leave the General Assembly complex when told to do so by an officer.

¶3         The State’s evidence tended to show as follows:

¶4         Defendant led a group of approximately fifty (50) people through the General

     Assembly office complex, protesting the inaction by our legislature to implement

     certain health care policy. The protest, which included “call and response” chants led

     by Defendant, triggered complaints from legislative staff.

¶5         Under the rules governing the legislative complex, visitors “may not disturb or

     act in a manner that will imminently disturb the General Assembly[.]”1 Disruptive

     visitors are told to stop their behavior, and if they refuse, they are asked to leave

     immediately.    The rules warn, “A knowing violation of these rules is a Class 1

     misdemeanor under G.S. 120-32.1(b).”2

¶6         In accordance with these rules, the General Assembly’s Police Chief repeatedly

     told Defendant and the group he was leading to lower their noise level, or they would

     be subject to arrest. The Police Chief then specifically told Defendant to stop leading

     the chants and leave. Defendant, however, did not leave, and the protest continued

     in a manner that proceeded to disturb the work of legislative staff. Accordingly,




           1 Rules of State Legislative Building and Legislative Office Building Adopted by the

     Legislative Service Commission, Restated 15 May 2014, at 2.
            2 Id. at 6.
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       Defendant was charged with trespass.

¶7           Defendant was never tried in our district court division. Rather, he was tried,

       in the first instance, by a jury in our superior court division on the sole charge of

       second-degree trespass. The jury returned a guilty verdict, and the trial court entered

       judgment accordingly. Defendant timely appealed.

                                            II. Analysis

¶8           Defendant makes several arguments on appeal, which we address in turn.

                       A. Subject Matter Jurisdiction of the Superior Court

¶9           Defendant argues that our superior court division lacked jurisdiction to try him

       for a misdemeanor charge because the charging document upon which the State

       proceeded was not an indictment returned by the grand jury, but rather a

       misdemeanor statement of charges drawn up by the prosecutor.

¶ 10         A defendant may properly raise the issue of subject matter jurisdiction at any

       time, even for the first time on appeal. In re T.R.P., 360 N.C. 588, 595, 636 S.E.2d

       787, 793 (2006). Challenges based on subject matter jurisdiction are reviewed de

       novo. In re A.L.L., 376 N.C. 99, 101, 852 S.E.2d 1, 4 (2020).

¶ 11         Here, Defendant was indicted by the grand jury for second-degree trespass.

       Specifically, the grand jury issued a “presentment” directing the prosecutor to

       investigate the matter after hearing testimony from the legislative officer who had

       cited Defendant. A month later, the prosecutor sought the indictment, which was
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       returned by the grand jury and served on Defendant.

¶ 12         However, on the eve of trial, the prosecutor prepared and served on Defendant

       a different charging document, called a “misdemeanor statement of charges.” This

       document charged Defendant with essentially the same crime as had been charged

       in the indictment. The State proceeded with the trespassing prosecution pursuant to

       the statement of charges document rather than the indictment.

¶ 13         Defendant makes a compelling argument on appeal that the procedure

       followed by the prosecutor was improper, an argument that may have been a winning

       one based on the case law cited. However, we must take note of a decision from our

       Supreme Court handed down last year, the reasoning of which compels us to conclude

       that Defendant was properly tried in our superior court division.

¶ 14         Our district court division generally has “exclusive, original jurisdiction” to try

       misdemeanors. N.C. Gen. Stat. § 7A-272(a) (2017). Our superior court division

       generally hears misdemeanor prosecution, in the exercise of a defendant’s right to a

       trial de novo, only after a defendant has been found guilty of the charge in the district

       court division. Id. § 7A-271(a)(5).

¶ 15         However, there are limited situations where our superior court division may

       hear a misdemeanor charge without first being a trial in the district court. For

       instance, relevant to our analysis here, a defendant may be tried for a misdemeanor

       in superior court in the first instance “[w]hen the charge is initiated by presentment,”
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       Id. § 7A-721(a)(2), which is followed by an indictment.

                    A presentment is a written accusation by a grand jury,
                    made on its own motion and filed with a superior court,
                    charging a person, or two or more persons jointly, with the
                    commission of one or more criminal offenses. A
                    presentment does not institute criminal proceedings
                    against any person, but the district attorney is obligated to
                    investigate the factual background of every presentment
                    returned in his district and to submit bills of indictment to
                    the grand jury dealing with the subject matter of any
                    presentments when it is appropriate to do so.

       N.C. Gen. Stat. § 15A-641(c) (2017).

¶ 16         As stated above, this procedure—presentment by the grand jury followed by

       an indictment—was followed here. However, the prosecutor then decided to proceed

       pursuant to an entirely different charging document, the misdemeanor statement of

       charges. There is statutory authority to proceed on a misdemeanor charge in superior

       court when hearing the matter de novo from a conviction in district court. However,

       our superior court does not have original jurisdiction to try a misdemeanor charged

       in a statement of charges. See N.C. Gen. Stat. § 7A-271(a) (outlining superior court’s

       jurisdiction to hear misdemeanor cases).

¶ 17         The question before us is whether it was fatal that the prosecution proceeded

       pursuant to the statement of charges, where the superior court otherwise had

       jurisdiction to proceed on the indictment that followed the presentment.

¶ 18         Defendant contends that our Court’s jurisprudence, specifically State v. Wall,
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       235 N.C. App. 196, 760 S.E.2d 386 (2014), compels us to conclude that the superior

       court lacked jurisdiction to proceed against Defendant for second-degree trespassing

       pursuant to a “statement of charges,” notwithstanding that Defendant was properly

       indicted by a grand jury for the same offense. The reasoning in Wall does seem to

       support Defendant’s position as explained below. Defendant’s argument perhaps

       would have been a winning one until last year. However, we conclude that this issue

       is controlled by the reasoning of our Supreme Court’s more recent opinion in State v.

       Capps, 374 N.C. 621, 843 S.E.2d 167 (2020).

¶ 19         Our 2014 decision in Wall relies on State v. Killian, 61 N.C. App. 155, 300

       S.E.2d 257 (1983). In Killian, the defendant was tried in district court pursuant to a

       pleading, known as a “warrant,” that charged him with a certain misdemeanor. He

       appealed his conviction to the superior court for a trial de novo. Since the superior

       court was not exercising original jurisdiction (as the defendant had already been

       convicted in our district court division), it was appropriate for our superior court to

       proceed pursuant to the original warrant. Id. at 158, 300 S.E.2d at 259. However,

       rather than trying him for the same charge, the prosecutor in Killian proceeded

       pursuant to a “statement of charges” pleading that charged the defendant for a

       different crime than the one alleged in the warrant. Id. at 155, 300 S.E.2d at 258.

¶ 20         Our Court in Killian held that the superior court had no jurisdiction to proceed

       on the statement of charges, as it alleged a crime different from the crime alleged in
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       the original warrant:

                    “Because [the crime charged] is a misdemeanor, the district
                    court had exclusive, original jurisdiction of the new offense.
                    G.S. 7A-272(a). Until defendant was tried and convicted in
                    district court and appealed to superior court for trial de
                    novo, the superior court had no jurisdiction [and] is
                    derivative and arises only upon an appeal from a conviction
                    of the misdemeanor in district court[.] The superior court
                    thus had no jurisdiction to try defendant for the new
                    offense alleged in the statement [of charges], and the
                    conviction accordingly must be reversed.

       Id. at 158, 300 S.E.2d at 259 (citation and quotation omitted).

¶ 21         Thirty-one years later, in 2014, our Court decided Wall, the case relied upon

       by Defendant. Wall involved procedural facts similar to Killian, except in Wall, the

       prosecution issued a statement of charges prior to the trial de novo that charged the

       same crime (resisting a public officer) as charged in the magistrate’s order, the

       charging document in the district court trial. Wall, 235 N.C. App. at 199, 760 S.E.2d

       at 388. Specifically, the magistrate’s order used in the district court prosecution

       charged the defendant with “resisting a public officer, § 14-223”; and the statement

       of charges used in the trial de novo also charged the defendant with violating “§ 14-

       223.” Id. at 198, 760 S.E.2d at 387.

¶ 22         The defendant in Wall argued that “the superior court lacked subject matter

       jurisdiction to try her on the misdemeanor statement of charges filed in superior court

       . . . because defendant was tried and convicted on a magistrate’s order in district
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       court[,]” notwithstanding both documents alleged the same crime. Id. 198, 760 S.E.2d

       at 387. We agreed with the defendant’s argument, specifically holding that this

       procedure was improper because:

                    “[T]he State cannot “amend” a magistrate’s order by filing
                    a misdemeanor statement of charges. Doing so would
                    change the nature of the original pleading entirely.

                    ***

                    Thus, the superior court had no jurisdiction to try
                    defendant for the new offense alleged in the statement of
                    charges. Defendant’s conviction must be vacated.

       Id. at 199-200, 760 S.E.2d at 388.

¶ 23         Here, Defendant argues that the reasoning in Wall controls. His argument is

       as follows: While there may have been an appropriate charging document that would

       have conferred jurisdiction in the superior court division, any jurisdiction was lost

       when the prosecutor proceeded under a different charging document disallowed by

       our General Statutes. And jurisdiction cannot be found by treating the statement of

       charges as a mere amendment to the appropriate charging document.

¶ 24         We, however, must take note of a case decided by our Supreme Court last year,

       a case cited by neither party. In State v. Capps, 374 N.C. 621, 843 S.E.2d 167 (2020),

       our Supreme Court essentially determined that a statement of charges may be

       treated as an amendment to the appropriate charging document.

¶ 25         In Capps, the defendant was convicted of a misdemeanor in district court
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       pursuant to a warrant, a charging document allowed in district court prosecutions.

       Id. at 622, 843 S.E.2d at 168. While the matter was before the superior court in a

       trial de novo, the prosecutor filed a statement of charges that parroted the allegations

       contained in the original warrant, with one minor exception—the name of the victim

       whose property was stolen was changed from “Loves Truck Stop” to “Love’s Travel

       Stops &amp; Country Stores, Inc.” Id. at 623, 843 S.E.2d at 168.

¶ 26         The defendant appealed, “arguing for the first time that the superior court

       lacked jurisdiction to try the misdemeanor[s] under the statement of charges.” Id.

       624, 843 S.E.2d at 169. Our Supreme Court, however, held that proceeding under

       the statement of charges was appropriate under two different theories. The theory

       relevant to this present matter is that the statement of charges was essentially “an

       amendment in substance” to the warrant. Id. at 627, 843 S.E.2d at 170. And since

       our General Statutes allowed for the warrant to be amended by reciting the proper

       name of the corporate victim rather than its trade name, the “amendment” was

       appropriate, notwithstanding that the amendment was drafted on a “statement of

       charges” form. Id. at 627, 843 S.E.2d at 170.

¶ 27         Of course, it could be argued that Capps is inapposite to the present case

       because, though our General Statutes allow for warrants to be amended, they

       specifically prohibit indictments from being amended by the prosecutor. See N.C.

       Gen. Stat. § 15A-923(e) (“A bill of indictment may not be amended.”). However, our
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       Supreme Court has “interpreted prohibited amendments to mean any change in the

       indictment which would substantially alter the charge set forth in the indictment.”

       State v. Abraham, 338 N.C. 315, 340, 451 S.E.2d 131, 144 (1994) (internal marks

       omitted). Accordingly, amendments to indictments that do not “substantially alter

       the charge” are permissible. State v. Brinson, 337 N.C. 764, 767, 448 S.E.2d 822, 824
       (1994). This is because a minor change does not defeat the purpose of the indictment

       “to inform a party so that he may learn with reasonable certainty the nature of the

       crime of which he is accused[.]” State v. Coker, 312 N.C. 432, 437, 323 S.E.2d 343,

       347 (1984).

¶ 28         Following the logic of Capps, we must conclude that the superior court properly

       had jurisdiction to proceed on the misdemeanor trespass charge. The presentment

       and subsequent indictment alleged that Defendant remained on “the premises [of]

       the North Carolina General Assembly, in the Legislative Building located at 16 W.

       Jones St., Raleigh[.]” The statement of charges contained similar language except

       that it described the location as “the premises of the State of North Carolina, the

       Legislative Building located at 16 W. Jones St. Raleigh[.]” As the premises in each is

       described as “the Legislative Building” with the address of “16 W. Jones St., Raleigh,”

       we do not see how the change from “the premises of the North Carolina General

       Assembly” to “the premises of the State of North Carolina” constituted a substantial

       alteration. Defendant was not denied his right to be informed of the nature of the
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       crime for which he was accused.

¶ 29         In sum, the superior court had original jurisdiction to proceed with the

       misdemeanor charge where the matter was initiated by a presentment followed by

       an indictment. N.C. Gen. Stat. § 7A-271(a)(2). The statement of charges drafted by

       the prosecutor may be treated as an amendment to the original charging document

       rather than a new charging document. Capps, 374 N.C. at 627, 843 S.E.2d at 170.

       An amendment to an indictment is permissible so long as the amendment does not

       substantially change the nature of the charge as alleged in the indictment. Brinson,

       337 N.C. at 767, 448 S.E.2d at 824. The amendment to the indictment in this case,

       as stated in the statement of charges, did not substantially alter the nature of the

       charge against Defendant.      Therefore, the amendment was permitted, and the

       superior court had jurisdiction to proceed.

                                           B. Free Speech

¶ 30         Defendant argues that his First Amendment rights were implicated, and

       therefore, the trial court erred by disallowing certain evidence that went to prove that

       assertion. We disagree.

¶ 31         This issue concerns whether free speech protections are implicated when a

       defendant is charged with trespass for violating viewpoint neutral, conduct-based

       rules. “To resolve this issue, we must first decide whether [defendant exhibited]

       speech protected by the First Amendment, for, if it is not, we need go no further.”
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       Cornelius v. NAACP Legal Def. &amp; Educ. Fund, 473 U.S. 788, 797 (1985)

¶ 32         The right to free speech and assembly, though “fundamental rights” are “not

       in their nature absolute.” State v. Dobbins, 277 N.C. 484, 498, 457 (1971) (quoting

       Whitney v. California, 274 U.S. 357, 373 (1927) (Brandeis J, concurring)). “[I]t has

       never been deemed an abridgment of freedom of speech or press to make a course of

       conduct illegal merely because the conduct was in part initiated, evidenced, or carried

       out by means of language, either spoken, written, or printed.” State v. Wiggins, 272

       N.C.147, 159, 158 S.E.2d 37, 46 (1967) (quoting Giboney v. Empire Storage &amp; Ice Co.,

       336 U.S. 490, 502 (1949)).

¶ 33         We conclude that the First Amendment is not implicated in the conduct for

       which Defendant was charged. This is not a case about free speech—it is a case about

       loud speech. Defendant was not expelled from the General Assembly for the content

       of his words. He was removed for their volume.

¶ 34         Indeed, the text of the General Assembly’s visitor rules does not speak to the

       nature or content of a visitor’s speech; they are solely conduct based. Specifically, the

       rules disallow “visitors who disturb” and prohibit unruly behavior, such as making

       noises that impair others’ ability to engage in conversation or impeding others’

       movement.

¶ 35         Further, even if Defendant’s First Amendment rights were implicated, we

       conclude that his rights were not violated as a matter of law. The visitor rules at
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       issue are reasonable “time, place, and manner” restrictions.

¶ 36         The United States Supreme Court has recognized that “[t]he First Amendment

       does not guarantee access to property simply because it is owned or controlled by the

       government,” Postal Service v. Council of Greenburgh Civic Ass’ns, 453 U.S. 114, 129
       (1981), and that “[t]he State, no less than a private owner of property, has power to

       preserve the property under its control for the use to which it is lawfully dedicated.”

       Adderley v. Florida, 385 U.S. 39, 47 (1966).

¶ 37         Moreover, “[n]othing in the Constitution requires the Government freely to

       grant access to all who wish to exercise their right to free speech on every type of

       Government property without regard to the nature of the property or to the

       disruption that might be caused by the speaker’s activities.” Cornelius, 473 U.S. 788

       at 799-800.

¶ 38         The United States Supreme Court has recognized that government property is

       either a public forum, which can be limited or unlimited in nature, or a non-public

       forum. Id. at 799-800.

¶ 39         We hold that the interior of the General Assembly is not an unlimited public

       forum. Although important speech is conducted within the building, the building is

       not a quintessential community venue, such as a public street, sidewalk, or park. See

       United States v. Grace, 461 U.S. 171, 180 (1983) (holding that while the interior of

       the Supreme Court building may not be a public forum, the sidewalk abutting the
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       courthouse is a public forum). The interior of the General Assembly complex is

       comparable to a courthouse in this regard. Certainly, while citizens are free to visit

       the General Assembly and communicate with members and staff, the government

       may prohibit loud, boisterous conduct on a content-neutral basis that would affect the

       ability of members and staff to carry on legislative functions.

¶ 40         Also comparable to the General Assembly, we note that the inside of the United

       States Capitol has been held to be a non-public forum, see Bynum v. United States

       Capitol Police Bd., 93 F. Supp. 2d 50, 56, 200 (D. D.C. 2000). But even if our General

       Assembly building can be characterized as a limited public forum, the General

       Assembly would still be allowed to enforce rules limiting the volume of visitor speech

       in the office areas where staff carry on the work of our legislative branch. See Brown

       v. Louisiana, 383 U.S. 131, 142 (1966) (holding that civil rights protestors have the

       right to hold a silent vigil in a racially segregated library but may not make a speech

       in the quiet portions of the library).

¶ 41         Our own Supreme Court has recognized that content-neutral time, place, or

       manner restrictions “are subjected to a less demanding but still rigorous form of

       intermediate scrutiny,” where “[t]he government must prove that they are narrowly

       tailored to serve a significant governmental interest, and that they leave open ample

       alternative channels for communication of the information.” State v. Bishop, 368 N.C.

       869, 874-875, 787 S.E.2d 814, 818, (2016) (citing McCullen v. Coakley, 573 U.S. 464,
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       486 (2014)).

¶ 42          We conclude that the legislative rules serve a significant interest of limiting

       loud disruptions and that Defendant has various other channels to make his concerns

       known and to otherwise engage in protests of legislative policies. Accordingly, we

       conclude that Defendant’s First Amendment rights were not violated by the

       application of the legislative rules that support his conviction.3

                                           C. Jury Instructions

¶ 43          Finally, Defendant argues that a portion of the jury instructions was

       misleading. Specifically, Defendant challenges the instruction describing one of the

       elements of second-degree trespass as that Defendant entered or remained on the

       premises of another “without authorization.” N.C.P.I.-Crim. 214.31A (2017). Though

       a standard jury instruction, Defendant argues that the word “authorization” should

       have been replaced with “legal right.”

¶ 44          Assuming arguendo that the court erred by not making this minor alteration,

       we conclude that the error had no effect on the outcome of the trial. See State v.



              3  Defendant makes other arguments concerning the implication of his First
       Amendment rights. For instance, Defendant contends that the legislative rules are
       unconstitutional “as applied” in his case; that the jury should have been instructed on the
       “constitutional” elements of trespass as applied in his case; and that the prosecution violated
       his rights under our state constitution to instruct his representatives. However, as we have
       concluded that Defendant’s conviction stems from his conduct (unrelated to the content of his
       speech) and that his First Amendment rights were not otherwise violated, we conclude that
       Defendant has failed to show reversible error with respect to these other arguments.
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       Green, 258 N.C. App. 87, 93, 811 S.E.2d 666, 670 (2018) (“An error in jury instructions

       is prejudicial when there is a reasonable possibility that, had the error in question

       not been committed, a different result would have been reached[.]”).

                                           III. Conclusion

¶ 45         We conclude that the superior court had jurisdiction over this matter and that

       Defendant had a fair trial, free from reversible error.

             NO ERROR.

             Judge CARPENTER concurs.

             Judge INMAN concurs in part and concurs in the result in part.
        No. COA20-268 – State v. Barber


              INMAN, Judge, concurring in part and concurring in the result in part.


¶ 46          I concur fully in the majority’s holdings that: (1) the misdemeanor statement

       of charges did not deprive the trial court of jurisdiction in light of State v. Capps, 374

       N.C. 621, 843 S.E.2d 167 (2020); and (2) Defendant has not shown prejudicial error

       in the trial court’s denial of his request to alter the jury instruction on trespass. I

       also concur in the majority’s ultimate holding that Defendant’s conviction is not

       subject to reversal on First Amendment grounds, but I write separately because I

       believe resolution of that issue requires a different analysis.

                                    I.   Conduct v. Expression

¶ 47          The majority treats its determination that the Building Rule4 regulates

       conduct as dispositive of Defendant’s First Amendment argument. But a law or

       regulation that principally concerns itself with conduct may also burden speech and

       be subject to First Amendment protections. See, e.g., Hest Techs., Inc. v. State ex rel.

       Perdue, 366 N.C. 289, 297, 749 S.E.2d 429, 435 (2012) (“[O]ur determination that the

       primary target of this regulation is conduct rather than speech does not neatly end

       the inquiry. Because regulations that legitimately restrict conduct may still unduly

       burden speech rights, we must carefully evaluate the plaintiffs’ assertions that the

       speech at issue here implicates the First Amendment.”). Such incidental burdens are


              4 The specific rule at issue is Rule III.C.2. of the Rules of State Legislative Building

       and Legislative Office Building Adopted by the Legislative Services Commission, Restated
       15 May 2014. For clarity and ease of reading, I refer to Rule III.C.2. as the “Building Rule”
       and the entire set of rules as the “Building Rules.”
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                      INMAN, J., concurring in part and concurring in the result in part



       subject to judicial review under the test announced in United States v. O’Brien, 391

       U.S. 367, 20 L. Ed. 2d 672 (1968):

                    [A] government regulation is sufficiently justified if it is
                    within the constitutional power of the Government; if it
                    furthers an important or substantial governmental
                    interest; if the governmental interest is unrelated to the
                    suppression of free expression; and if the incidental
                    restriction on alleged First Amendment freedoms is no
                    greater than is essential to the furtherance of that interest.

       Id. at 377, 20 L. Ed. 2d at 680. See also Hest, 366 N.C. at 300, 749 S.E.2d at 437
       (noting that “courts have traditionally applied the test from . . . O’Brien” to

       regulations aimed at conduct that incidentally burden speech). And the O’Brien test

       is, at bottom, largely indistinguishable from the time, place, and manner restriction

       test applicable to content-neutral restrictions on speech. See Clark v. Cmty. for

       Creative Non-Violence, 468 U.S. 288, 298, 82 L. Ed. 2d 221, 230 (1984) (noting that

       the O’Brien test “in the last analysis is little, if any, different from the standard

       applied to time, place, or manner restrictions”).

¶ 48         Applying O’Brien to this case, whether the Building Rule is characterized as

       primarily regulating conduct that incidentally burdens speech (as intimated by the

       majority) or as a time, place, and manner restriction (as contended by Defendant), it

       is subject to similar intermediate scrutiny under the First Amendment. See, e.g.,

       Nixon v. Shrink Mo. Gov’t PAC, 528 U.S. 377, 386, 145 L. Ed. 2d 886, 897 (2000)
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                      INMAN, J., concurring in part and concurring in the result in part



       (describing the O’Brien test as “intermediate scrutiny” alongside “the similar

       standard applicable to merely time, place, and manner restrictions”).

¶ 49         In my view, the Building Rule places at least an incidental burden on speech,

       as it explicitly includes “singing, clapping, shouting, [and] playing instruments” as

       “nonexclusive examples of behaviors that may disturb the General Assembly.” If a

       city noise ordinance that “forbids deliberately noisy or diversionary activity that

       disrupts or is about to disrupt normal school activities,” Grayned v. City of Rockford,

       408 U.S. 104, 110-11, 33 L. Ed. 2d 222, 229 (1972), is subject to intermediate First

       Amendment scrutiny as a time, place, and manner restriction on expression, id. at

       115-17, 33 L. Ed. 2d at 231-33, it is hard to discern how the Building Rule is not also

       a time, place, and manner restriction subject to the same level of First Amendment

       review.

                                       II.    Forum Analysis

¶ 50         That the Building Rule at issue here involves a content-neutral time, place,

       and manner restriction also leads me to conclude that the hallway in which

       Defendant was arrested is a designated public forum, if not a traditional public

       forum.5 To identify a designated public forum, we must “look[] to the policy and



             5  The majority holds that the hallway where Defendant was arrested is not an
       “unlimited public forum.” I understand the majority to mean that the hallway is not a
       “traditional public forum” or a “designated public forum” as those terms are used in First
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                       INMAN, J., concurring in part and concurring in the result in part



       practice of the government to ascertain whether it intended to designate a place not

       traditionally open to assembly and debate as a public forum,” while also considering

       “the nature of the property and its compatibility with expressive activity.” Cornelius

       v. NAACP Legal Defense Educ. Fund, Inc., 473 U.S. 788, 802, 87 L. Ed. 2d 567, 580
       (1985).

¶ 51          As the Building Rules are written, visitors are allowed to speak in the hallway

       where Defendant was arrested about anything and to anyone; the only limitation is

       that the speech fit within content-neutral restrictions tracking the intermediate

       scrutiny test applicable to public fora.6 In other words, the General Assembly allows,

       by policy, any and all speech that falls within a content-neutral time, place, and

       manner restriction—the precise type of restriction permitted in either a traditional

       or designated public forum. The Chief of the North Carolina General Assembly Police

       Department testified:

                     [W]hen I’m at various protest rallies, advocacy days, the
                     content of what people are saying has no bearing on my
                     actions. . . . What you’re saying, what you’re advocating


       Amendment caselaw. See Willis v. Town of Marshall, N.C., 426 F.3d 251, 264 n.6 (4th Cir.
       2005) (“In the context of a First Amendment claim, the phrase ‘public forum’ is a term of art,
       as are ‘limited public forum,’ designated ‘public forum,’ and ‘non-public forum.’ ” (citations
       omitted)); see also Perry Educ. Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 37, 45-46, 74
       L. Ed. 2d 794, 804-05 (1983) (defining and distinguishing between traditional public fora and
       designated public fora).
              6 Building Rule III.C.4. also prohibits signs on handsticks, signs affixed to the

       Legislative Complex, and signs that are used to disturb the General Assembly. This
       regulation, too, is a content-neutral regulation on the manner of speech.
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                                              2021-NCCOA-695

                      INMAN, J., concurring in part and concurring in the result in part



                    for or what you’re protesting against, or what you’re
                    protesting for has absolutely no bearing on my decisions or
                    my directions or my instructions to my officers, and it
                    would be improper and illegal if it did.

¶ 52         Nor does open public discussion conflict with the nature of the State

       Legislative Building. If it did, the General Assembly presumably would have chosen

       a more restrictive policy than a content-neutral time, place, and manner restriction

       when, “[t]o make visitors feel welcome and at the same time to make it possible for

       the General Assembly to function effectively,” it adopted the Building Rules. Indeed,

       the State Legislative Building may be the most appropriate location for open public

       discourse in light of both these aims. See Reilly v. Noel, 384 F. Supp. 741, 747 (D.R.I.

       1974) (“[T]here is no more appropriate place for citizens to express their views on

       issues of social and political significance and to communicate their feelings to their

       elected representatives than at the State Capitol.” (citations omitted)); Women Strike

       for Peace v. Morton, 472 F.2d 1273, 1287 (D.C. Cir. 1972) (“There is an unmistakable

       symbolic significance in demonstrating [as close as possible to the seat of government]

       which, while not easily quantifiable, is of undoubted importance in the constitutional

       balance.”); City of Madison, Joint Sch. Dist. No. 8 v. Wis. Emp’t Relations Comm’n,

       429 U.S. 167, 178-79, 50 L. Ed. 2d 376, 387 (1976) (Brennan, J., concurring)

       (“[W]hen . . . a government body has either by its own decision or under statutory

       command, determined to open its decisionmaking processes to public view and
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                                                  2021-NCCOA-695

                          INMAN, J., concurring in part and concurring in the result in part



          participation . . . the state body has created a public forum dedicated to the

          expression of views by the general public.”). Based on stated policy, practice, and the

          State Legislative Building’s purposes, Defendant has shown that the office hallway7

          has been “opened for use by the public as a place for expressive activity,” Perry Educ.

          Ass’n, 460 U.S. at 45, 74 L. Ed. 2d at 805, and, to the extent it was not traditionally

          a public forum,8 it has been intentionally designated as such. In short, I would hold

          that Defendant had every right to engage in protected speech in the hallway of the

          Legislative Building subject to reasonable time, place, and manner restrictions that

          comport with the First Amendment.

       III.   As-Applied Challenge and Jury Instruction on Constitutional Elements
                                          of Trespass

¶ 53             Though I diverge from the majority’s analysis of Defendant’s First Amendment

          argument, I concur in its ultimate conclusion that Defendant’s constitutional rights

          were not violated by the trespass conviction. The Building Rule Defendant violated

          is a reasonable time, place, and manner restriction that survives intermediate




                 7 This analysis applies to the hallways and other areas of the Legislative Building that

          are generally accessible to the public during business hours; this appeal does not involve the
          offices of General Assembly members and their staff.
                  8 “In general, the grounds and buildings of state and federal capitol complexes and

          similar buildings have consistently been held to be public fora.” ACT-UP v. Walp, 755 F.
          Supp. 1281, 1287 (M.D. Pa. 1991) (citations omitted).
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                                               2021-NCCOA-695

                       INMAN, J., concurring in part and concurring in the result in part



       scrutiny.9 It is not meaningfully different from the content-neutral noise ordinance

       that was upheld as a reasonable time, place, and manner restriction by the United

       States Supreme Court in Grayned, 408 U.S. at 116-21, 33 L. Ed. 2d at 231-35, and

       Defendant has not argued to this Court that the Building Rule fails to meet this

       standard.10 Defendant’s as-applied argument fails.

¶ 54          I also conclude that Defendant’s prosecution did not violate his rights under

       Article I, Section 12 of the North Carolina Constitution “to instruct [his]

       representatives, and to apply to the General Assembly for redress of grievances.” To

       the extent that this argument is encompassed by Defendant’s underlying First

       Amendment challenge, it fails alongside that as-applied claim. See State v. Frinks,

       284 N.C. 472, 485, 201 S.E.2d 858, 866-67 (1974) (holding a defendant’s First

       Amendment and Article I, Section 12 challenges to his prosecution for violating a

       parade ordinance failed because the ordinance complied with the First Amendment).

       Defendant cites no North Carolina caselaw interpreting or applying Article I, Section

       12 of the North Carolina Constitution. We have held that the right to instruct




              9 Because I believe the hallway at issue to be a public forum and the Building Rule to

       be a time, place, and manner restriction subject to intermediate scrutiny, I do not join in the
       majority’s analysis treating the hallway as a limited public forum. See Pleasant Grove City,
       Utah v. Summum, 555 U.S. 460, 470, 172 L. Ed. 2d 853, 863 (2009) (holding that regulations
       in limited public forums are constitutional if they “are reasonable and viewpoint neutral”).
               10 Defendant conceded at oral argument that a rule prohibiting disruptions to allow

       persons to work is a reasonable time, place, and manner restriction.
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                                       2021-NCCOA-695

               INMAN, J., concurring in part and concurring in the result in part



“reflect[s] a right of the people to ‘teach’ or ‘advise’ their representatives, . . . [and]

protects the ability of the people to contact their elected representatives and convey

their views about the decisions those representatives are tasked with making on their

behalf.” Common Cause v. Forest, 269 N.C. App. 387, 392-93, 838 S.E.2d 668, 673

(2020). But I am not convinced that Defendant’s rights under Article I, Section 12

were violated because he was prohibited from exercising his petition rights in his

preferred manner. For example, Defendant could have: (1) continued to instruct and

petition the General Assembly within the reasonable time, place, and manner

restrictions imposed by the Building Rules, including by lowering the volume of his

voice and urging his supporters to do the same; (2) distributed a letter, petition, or

other writing to legislative offices by mail, facsimile, or email; (3) addressed

representatives personally in another public setting outside the Legislative Building;

(4) contacted legislative offices by phone; or (5) hired a lobbyist to speak with

legislators.11 Cf. Clark, 468 U.S. at 293, 82 L. Ed. 2d at 227 (holding reasonable time,

place, and manner restrictions are constitutional “provided that they are justified



       11 Room numbers, telephone numbers, and email addresses for all members of the

General Assembly are accessible to the public on the General Assembly’s website. Contact
Info,       North        Carolina        General         Assembly,         available       at
https://www.ncleg.gov/About/ContactInfo (last visited December 12, 2021). Registered
lobbyists may be identified through the Secretary of State’s website. North Carolina
Secretary of State Lobbying Compliance Search, North Carolina Secretary of State, available
at https://www.sosnc.gov/online_services/search/by_title/_lobbying (last visited December 12,
2021).
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                                             2021-NCCOA-695

                     INMAN, J., concurring in part and concurring in the result in part



       without reference to the content of the regulated speech, that they are narrowly

       tailored to serve a significant governmental interest, and that they leave open ample

       alternative channels for communication of the information” (emphasis added)); Pell v.

       Procunier¸ 417 U.S. 817, 827-28, 41 L. Ed. 2d 495, 504-05 (1974) (holding inmates’

       First Amendment rights, including the right to petition the government for a redress

       of grievances, was not violated by a reasonable time, place, and manner restriction

       “in light of the alternative channels of communication that are open to prison

       inmates”). Absent caselaw applying Article I, Section 12 in the manner requested by

       Defendant and expanding it to invalidate regulations that are constitutional under

       the First Amendment, I agree with the majority’s determination that Defendant’s as-

       applied challenge under the North Carolina Constitution fails.

¶ 55         Defendant also argues that the trial court erred in failing to instruct the jury

       to find necessary “constitutional facts” on the “constitutional elements” of the

       trespass charge, namely, whether Defendant violated a reasonable time, place, and

       manner restriction by demonstrating so loudly as to disrupt the work of the General

       Assembly within the meaning of the Building Rule. But Defendant’s trial counsel did

       not argue that such an instruction was constitutionally required. And while trial

       counsel did request an amendment to the jury instruction on trespass to distinguish

       that Defendant must be found to have been in the Legislative Building “without legal

       right” instead of “without authorization” to be guilty, he did not ground this argument
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                                              2021-NCCOA-695

                      INMAN, J., concurring in part and concurring in the result in part



       in First Amendment or other constitutional concerns. Defendant’s constitutional jury

       instruction argument—raised for the first time on appeal—is not preserved for review

       given trial counsel’s failure to distinctly argue those grounds below. See Marketplace

       Antique Mall, Inc. v. Lewis, 163 N.C. App. 596, 601, 594 S.E.2d 121, 125 (2004) (“As

       a review of the transcript reveals that plaintiffs did not object to the jury instructions

       on the bases contended in their brief, these issues were not preserved for appeal and

       are therefore not properly before this Court.” (citation omitted)); N.C. R. App. P.

       10(a)(2) (2021) (“A party may not make any portion of the jury charge or omission

       therefrom the basis of an issue presented on appeal unless the party objects thereto

       before the jury retires to consider its verdict, stating distinctly that to which objection

       is made and the grounds of the objection.”).

¶ 56         Although Defendant did preserve his challenge to the jury instruction on state

       law grounds, I concur with the majority’s conclusion that he has failed to show

       prejudice.   Defendant’s trial counsel argued the factual question of whether

       Defendant violated the Building Rule to the jury despite his unsuccessful request to

       alter the jury instruction on trespass. He repeatedly contended in closing that the

       State had failed to show Defendant was loud enough to cause a disturbance in

       violation of the Building Rule. Likewise, the prosecutor argued in closing that the

       “without authorization” element of trespass was satisfied because “there are

       rules . . . that govern what behavior is allowed in that building when a member of the
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                                              2021-NCCOA-695

                      INMAN, J., concurring in part and concurring in the result in part



       general public enters. He violated those rules, and at the point that he violated those

       rules he lost his authority to stay there.”

¶ 57         For the reasons stated herein, I concur in the result reached by the majority

       regarding Defendant’s First Amendment and related arguments. I concur fully in

       the remainder of the majority opinion.
